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AT SEATTLE

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MESTERN DISTRICT OF WASHIRETON
DEPUTY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON STATE

MYRIAM ZAYAS
PLAINTIFF,

case 20-cv-00981 JLR-TLF

vs. FINAL RESPONSE ON ORDER TO

DISMISS

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DAVID LARAUS, )
ANNETTE MESSITT, —
ANN DANIEL, . )
PAULINE DUKE, )
AMBER WHITNEY, )
JEFFREY WHITNEY, |
JENNIE COWAN, )
)

)

)

)

‘DEFENDANTS,

My name is MYRIAM ZAYAS | am above the age of 18 and competent to testify to the facts
stated herein. This court is governed by the laws of the state of Washington city of Kent, |
certify and declare under penalty of perjury that the following statements are true and correct,
submitting the links listed as evidence:

1. The following link leads to proof that tee social workers do play matching games by

race with the intent to permanently sell children for adoption assistance:

https://1drv.ms/u/s! AmhsoRs52qWXaRd zPiC9rN7eL63_ ?e=OXoQae

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2. The following link leads to the fake audio for the Shelter Care Hearing that was added
5 months after it should have occurred, listen for the file cabinet drawer slamming shut
and onlv the Plaintiff echoes. (you will need to download a For the Record player):

https://1drv.ms/u/s!AmhsgRs52qW XoBrvHRGM2MB4suai?e=ukythM

3. The following link is to the court hearing where the AAG tries to convince the Plaintiff
that Ann Danieli was | fact the judge 05/18/2020 and 06/09/2020:

https://1drv.ms/u/s!AmhsgRs52qW XiDMHavtmimS--Uix?e=UN7ylz

4, Let's just say everything they are accusing the Plaintiff of is true, she is crazy (true), she
is on drugs(true at times but not that tite that was medication, the Plaintiff would never
give them dirty pee deliberately she did not know it was dirty), she asked the school
teacher for food(true), her child misbehaved inclass(lie), her child was not dressed for
the weather(lie), so where is the required child abuse? CPS does not even test for weed,
that’s procf they don’t care about drugs. Their concern for the Plaintiffs child gives
them ne right to traumatize her child and until her child is abused, they broke, and are
breaking the law when they removed her child and continue to hold her hostage hoping
the Plaintiff will be stupid enough to sign their trap they call a dependency order (they
only make Caucasian parents sign) under Deprivation of Rights of Rights under the
color of law.’

5. This federal court house was created for the Plaintiff if a state official violates the
federally protected rights of the Plaintiff she can and has a right to redress her
government under the first amendment. She also can ask this court to strike any RCW
they chose to use against her and they know these violate the rights of the Plaintiff.

6. The Attorney General, Commission of Judicial Conduct, King County Prosecuting

Attorne,. «ent Police, and the Ombudsman of Washington state are public servants,

! https://www.justice.gov/crt/deprivation-rights-under-color-law

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they are there to serve the Plaintiff, they are not supposed to ignore the Plaintiffs
complaints no matter how stupid or crazy they think she sounds. These government
agencies were created so that the Plaintiff could remedy her problems prior to having
to sue or pay for a lawyer in federal court.
These government agencies named in number 3 have likely hundreds of letters and
emails from the Plaintiff since 2011, none of them have ever made an attempt to remedy
the problems, stop the crimes that are continuing in the name of a 5-year-old child. Most
recently the commission of judicial conduct has contacted her and stated that the
current judge by committing felony forgery did not violate any of the “canons” of
judicial -+"duct.

If Superior court judges are permitted to committing forgery on the job and in their
administrative position instruct those they administer to follow suit, then why do they
even need Ann Danieli to cover for them, pull someone in for a felony charge that has —

nothing to do with the case?

. The King County prosecuting attorney ha told the Kent police detective not investigate

the forgery.

Upon further information and belief no removal order exists for the removal of the
Plaintiffs 6- and 8-year-old child from 2009, also for 2014, and for 2020. This means no
oath or affirmation was ever given. No judge signed for, or approved these removals.
The 2029 removal was “rubber stamped.” There exists no oath or affirmation given on
the actual official record that states the reason for the removal, which is required by law
and is a violation of the Plaintiff and her children all of their fourth amendment rights to
be free from government intrusion absent probable cause, and the required oath and

affirmation.

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In the related case 20-cv-00981 Zayas vs Department et al’ the AAG still has not
provided 1 clean UA from the man thai sas favored in 2009 and in 2019, not one sliver of
proof he completed the required court ordered? services to receive custody of the
Plaintiffs son at all. He has not provided proof that the other father who is also African —
American had a drug assessment as required per court order 2009-2015. He has not
provided 1 child abuse finding despite being investigated by the police for sexual
miscond::ct against the Plaintiffs 12-year-old child. He also has not provided one child
abuse finding for the other African American father for abandoning his 14-year-old
son. This matters in proving that the but for cause remains race and the state official
Defendants in this case are supporting this discrimination by neglecting to prevent its

reoccurrence. The judge knows her.son is still on her lease and does not believe that -

‘racism is the reason they unlawfully removed him in 2019. The Plaintiff has the

restraining orders and the proof of current child support paid to her.

The Defendants, the AAG on their behalf has not provided these removal warrants and
the ones he has provided are lacking one important requirement “oath or affirmation”
on the docket, no minutes exist on the docket in 2009, 2014, or 2020.

That is 2 fourth amendment violations, they will never be able to prove they had
probable cause because they lack the required evidence on the official record in order
to prove these facts. The Plaintiff argues she has the burden of proof they have yet to
prove anything, she has triable issues lacking probable cause is required fora section
1983 claim.2 Public Disclosure has failed to provide these warrants but have provided

everything else in the Plaintiffs children’s names 2009-2020.

? the burden of proof has two components, the burden of production (the obligation to produce evidence on an issue)

and the burden of persuasion or risk of non-persuasion (the obligation to convince the factfinder that one's version of
the facts is more likely true). All federal circuits place the burden of persuasion on the plaintiff, so although this
Comment may refer generally to the burden of proof, it is the burden of production that is truly at issue.

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The 2020 removal of the Plaintiffs 5-year-old was completed using a federal felony and
the Plaintiff can prove the intent to defraud in that they ignored and avoided her for

many r-*sths hoping she would never find that forgery. Their intent was to defraud their

own employer and to defraud the Plaintiff. The Defendants get no immunity committing oe

felony’s, and misdemeanors to violate the rights of a 5-year-old child and the Plaintiff. ©.
The 2020 removal also occurred in violation of Emergency order 6 (which is a crime -

under RCW) if the Defendants truly believed she abused her child they would not have

been afraid to sign as themselves.

The foster parents have violated the rights of the Plaintiff in that they forced her 5-year-
old into Christianity and they accepted placement for adoption on day one, if this is
child welfare policy this policy is a violation of the Plaintiffs civil rights. These foster
parents still insist on being called Mommy and Daddy. It takes a willing participant such
as these foster parents for the corrupt social workers to complete their unlawful tasks
after kidnapping her child. Without them the social workers would have no where to
place her child. Their desire to unlawfully force ASFA funding, these foster parents
know reasonable efforts could not have been made upon day one, yet still accept these

funds beginning on day one.

The Plaintiff argues the but-for cause of all the decisions made against her by CPS

were made because of the Plaintiffs rave and for no other reason. She has the proof,
the Plaintiff has witness's and victims, in some states like Wisconsin the social workers
also target minority children. There are minority foster homes in other states but in
Washington there are not many minority foster parents. Therefore, Caucasian children
with blonds hair blue eyes under the age of 5 remain CPS number one target and their

entire caseload even in Kent which is a city of 50% minorities, you will not find any

‘African American children under age 5 in the Kent office. Not in foster homes those are

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reserved for the “white slaves.” Reverse racism is so much worse because they say
white people deserve it. The Plaintiff was not born in the US and neither were either of
her parents therefore this is not her karma. But she firmly believes this is her
punishment for having children with a black man.

18.. The foster parents can and will also ise charged in parental kidnapping when they miss
court ordered visitation for many weeks. They also do not get to force her child who has
no other parent but the Plaintiff, they cannot farce her child into any religion that is not
the Plaintiffs religion. They do not get to decide if they want to “adopt” her child with
no child abuse finding on forged court orders, these are all valid reasons to go to trial.

19. The state of Washirigton does not get to steal her child for “no reason” having zero
child abuse findings, and then hold her child hostage for years without any legal
documentation to do so, without her signature and without the signature of a judge at
all, hoping that she comply with their unwarranted harassment of her and her child.

20. The police cannot take people to jail and force them onto probation without “probable
cause.” The state judges do not get to uphold unsigned, or forged removal orders, this
is the state officials breaking the law, and clearly violating the Plaintiffs constitutional
rights to remain government free. Complying with their demands would defeat the
purpose of why she is suing the social workers they do not get to bully her because she
is white and they think she wil be afraid of them sorry does not work like that. They have
now rec -~igned «he racist social worker to be her worker again because they are mad
she is about to win her appeal.

21. Beginning at 13:00 minutes in the following recording the Plaintiffs child can be found
arguing with her mother the Plaintiff regarding her mothers lack of knowledge about
“God.”:

https://drive.aoogle.com/file/d/15leZR-PPf0y TdeWRAsleik8FF Ar0bC41/view?usp=sharing

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. The Plaintiff has hundreds of pages of proof that her race is the cause in her past

dependency's the social workers enjoyed writing these facts it was part of how they
discriminated against her, they wanted the Plaintiff to read and know they were playing
favorites. This is part of their sickness, and this was intentionally written | order to
cause pain, similar to the aetions the social workers continue today in their court .
reports. =ven the ccurt reports depicting her children were being abused by these .
African American men they favored, the social workers wrote these so the Plaintiff
could and would get upset that was their intention. To get a reaction from the Plaintiff
and to satisfy their disturbing sickness.

This court shocked? Of course not, has anyone ever read the constitution. Why would

anyone of the oppressed population follow such an atrocity? The US government

should have redacted and deleted more than half of it many moons ago, yet their .
intention is to cause pain and then use that pain as a tool to their benefit.
The people in charge of those who racially discriminated against the Plaintiff John
March, Jody Becker, they know what they are doing. They too will be held accountable
for their intentional and deliberate actions, ignoring the Plaintiff, and continuing to
allow the with holding of the Plaintiffs child, lacking any form of legal documentation.
They know what is happening, and do nothing to remedy the Defendants unlawfulness.
They know about the forgery, and hope the Plaintiff will just give up without a paid

attorney on her side. But they forget this court was made for the Plaintiff.

The Plaintiff does not need to provide proof her medication causes dirties because the

contents of her pee do not make her a ctriid abuser and it is their job to prove she used
and to prove it was not her medication not her job because she already provided the
letter from her doctor.. That and they must prove it was contributing factor to her

abusing her child.

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26. Why aren't these state officials in jail yet? Where they belong?

CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best.
of my knowledge, information, and belief that this reply: (1) is not being.
presented for an improper purpose, such as to harass, cause unnecessary delay,
or needlessly increase the cost of litigation; (2) is supported by existing law or by
a nontrivolous argument for extending, modifying, or reversing existing law; (3)
the factual contentions have evidentiary support or, if specifically, so identitied,
will likely have evidentiary support after a reasonable opportunity for further.
investigation or discovery; and (4) the repiy otherwise compiies with the
requirements of Rule 11,

Respectfully submitted,

Title: Pro Se Plaintiff

Dated: Ly | 2042

CERTIFICATE OF SERVICE

I, MYRIAM ZAYAS, do hereby certify that | have this day mailed, U.S. Mail Certified,

postage prepaia, a true and correct copy of the above and foregoing to at the following

address also send an email to the email “/|/) /|
‘THIS the 20% day of April 2021. 4 A
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